

Moltrup v Reid (2021 NY Slip Op 00670)





Moltrup v Reid


2021 NY Slip Op 00670


Decided on February 5, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 5, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., LINDLEY, NEMOYER, CURRAN, AND DEJOSEPH, JJ.


65 CA 20-00653

[*1]DAVID MOLTRUP, PLAINTIFF-APPELLANT,
vLINDA JOYCE REID, DEFENDANT-RESPONDENT. (APPEAL NO. 1.) 






AARON ZIMMERMAN, SYRACUSE, FOR PLAINTIFF-APPELLANT.
SMITH, SOVIK, KENDRICK &amp; SUGNET, P.C., SYRACUSE (KRISTIN L. NORFLEET OF COUNSEL), FOR DEFENDANT-RESPONDENT. 


	Appeal from an order of the Supreme Court, Onondaga County (Joseph E. Lamendola, J.), entered April 24, 2020. The order, among other things, denied plaintiff's motion for partial summary judgment on the issue of liability. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs for reasons stated in the decision at Supreme Court.
Entered: February 5, 2021
Mark W. Bennett
Clerk of the Court








